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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC
                                                          Civil Action No. 2:17-cv-00030-JRG
        Plaintiff,
                                                          LEAD CASE
        v.
 TEN: THE ENTHUSIAST NETWORK
 MAGAZINES, LLC D/B/A MOTOR TREND,                        JURY TRIAL DEMANDED

        Defendant.


 SYMBOLOGY INNOVATIONS, LLC                               Civil Action No. 2:17-cv-00027-JRG

        Plaintiff,                                        JURY TRIAL DEMANDED
        v.
 SMART, LLC D/B/A SMART TUITION,

        Defendant.


                           ORDER OF DISMISSAL WITH PREJUDICE


       Before the Court is Plaintiff Symbology Innovations, LLC’s Unopposed Motion for

Dismissal with Prejudice as to Defendant Smart, LLC (Dkt. No. 27) ("the Motion"). Having

considered the Motion, the Court is of the opinion that the Motion should be and hereby is

GRANTED.

       It is therefore ORDERED that all claims asserted in this action between Plaintiff

Symbology Innovations, LLC and Defendant Smart, LLC are hereby DISMISSED WITH

PREJUDICE.

       It is further ORDERED that all attorneys’ fees, expenses and costs are to be borne by

the party that incurred them.
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    SIGNED this 19th day of December, 2011.
   So ORDERED and SIGNED this 9th day of June, 2017.




                                            ____________________________________
                                            RODNEY GILSTRAP
                                            UNITED STATES DISTRICT JUDGE




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